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   SEC vs. Liberty et. al./Tabulation of Investor Monies
                Paid into Marcus Clegg IOLTA Account By Investors
                 and Monies Disbursed to Mozido From IOLTA Account After Initial Investment




                                                                  Amount Disbursed From
                             Amount Paid To IOLTA
       Date                                                      IOLTA Account to Mozido
                              Account by Investors
                                                                  After Initial Investment




           09/14/12                            $50,000.00                        $115,000.00
           09/17/12                           $250,000.00
           09/18/12                         $1,000,000.00
           09/18/12                         $1,000,000.00
           09/20/12                           $100,000.00
           09/25/12                                                             $1,000,000.00
           10/10/12                                                               $100,000.00
           10/15/12                                                               $150,000.00
           10/18/12                                                               $150,000.00
           10/19/12                          $499,975.00
           10/23/12                           $40,000.00
           10/27/12                                                              $175,000.00
           11/09/12                           $25,000.00
           11/13/12                          $117,500.00
           11/13/12                                                              $170,000.00
           11/14/20                                                              $115,000.00
           11/20/12                          $274,975.00
           11/27/12                          $100,000.00
           11/28/12                                                              $425,000.00
           11/30/12                                                              $150,000.00
           11/30/21                           $50,000.00
           11/30/12                           $74,975.00
           12/07/12                                                              $125,000.00
           12/11/12                          $100,000.00
           12/12/12                                                              $305,000.00
           12/12/12                          $325,000.00
           12/13/12                           $55,000.00
           12/19/12                           $99,975.00
           12/19/12                                                              $125,000.00
           12/21/12                          $150,000.00
           12/26/12                                                              $175,000.00
           12/27/12                          $200,000.00
           12/27/12                                                              $200,000.00
           12/28/12                                                               $45,000.00
           01/02/13                           $50,000.00
           01/03/13                          $121,744.63
           01/03/13                           $50,000.00
           01/04/13                           $49,500.00

           01/04/12                                                              $250,000.00
           01/04/13                           $99,975.00
           01/04/13                           $78,756.00
           01/08/13                           $24,980.00
           01/08/13                           $50,000.00
           01/14/03                           $50,000.00
           01/29/13                          $100,000.00
           01/31/13                          $100,000.00
           02/08/13                          $150,000.00
           2/8/2013                           $75,000.00
           02/12/13                           $50,000.00
           02/13/13                           $50,000.00
           02/14/13                                                              $112,000.00
           02/14/13                           $75,000.00
           03/05/13                           $99,975.00
           03/05/13                           $50,000.00
           03/05/13                          $250,000.00
           03/11/13                           $50,000.00
           03/13/12                                                               $60,000.00
           03/18/13                           $50,000.00
           03/19/13                           $25,000.00
           03/19/13                           $50,000.00
           03/19/13                           $35,000.00
           03/19/13                           $25,000.00
           03/01/13                          $400,000.00
           03/20/13                          $400,000.00
           03/26/13                           $25,000.00
           03/27/13                          $250,000.00
           03/27/13                          $250,000.00
           03/28/13                                                              $250,000.00
           04/04/13                          $100,000.00
           04/16/13                                                              $150,000.00
           04/18/13                           $74,475.00
           04/19/13                           $50,000.00
           04/23/13                           $50,000.00
           04/24/13                           $75,000.00
           04/24/13                          $100,000.00
           04/29/13                          $250,000.00
           05/06/13                           $40,000.00
           05/07/13                           $75,000.00
           05/06/13                           $30,000.00
           05/09/13                          $200,000.00
           05/10/13                           $50,000.00
           05/10/13                                                              $750,000.00
           05/16/13                           $210,000.00
           05/17/13                            $30,000.00
           05/17/13                            $99,982.00
           05/17/13                            $25,000.00
           05/20/13                            $50,000.00
           05/20/13                            $35,000.00
           05/20/13                            $45,000.00
           05/23/13                            $50,000.00
           05/23/13                            $50,000.00
           05/24/13                            $25,000.00
           05/29/13                           $500,000.00
           05/29/13                         $1,500,000.00
          5/29/2013                          $150,000.00
           05/29/13                                                              $200,000.00
           05/29/13                          $400,000.00
           05/29/13                          $150,000.00
           05/31/13                                                              $578,196.89
           06/04/13                          $100,000.00
           06/04/13                           $70,000.00
           06/06/13                                                              $500,000.00
           06/07/13                            $2,490.00
           06/10/13                           $50,000.00
           06/10/13                           $30,000.00
           06/11/13                          $100,000.00
           06/11/13                           $50,000.00
           06/11/13                           $30,000.00
           06/12/13                                                              $496,819.35
           06/14/13                           $50,000.00
           06/18/13                           $30,000.00
          6/19/2013                          $150,000.00
          6/19/2013                           $50,000.00




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            6/20/2013                   $50,000.00
            6/24/2013                   $33,000.00
            6/25/2013                  $100,000.00
            6/25/2013                   $50,000.00
            6/26/2013                                            $500,000.00
            6/27/2013                   $55,000.00
            6/28/2013                   $50,000.00
             7/5/2013                  $135,000.00
             7/8/2013                  $120,000.00
             7/9/2013                   $29,543.52
             7/9/2013                   $67,427.30
            7/10/2013                                            $200,000.00
            7/12/2013                   $25,000.00
            7/19/2013                   $85,000.00
            7/19/2013                                            $250,000.00
            7/23/2013                  $500,000.00
            7/23/2013                  $150,000.00
            7/24/2013                  $250,000.00
            7/25/2013                  $100,000.00
            7/29/2013                  $250,000.00
            7/29/2013                  $186,000.00
            7/29/2013                   $87,500.00
            7/30/2013                                            $250,000.00
            7/30/2013                  $130,000.00
            7/30/2013                   $56,000.00
            7/30/2013                   $26,311.35
            7/30/2013                   $87,500.00
            7/31/2013                  $250,000.00
             8/1/2013                  $250,000.00
             8/5/2013                   $50,000.00
             8/6/2013                                             $50,000.00
             8/6/2013                   $30,000.00
             8/7/2013                   $50,000.00
             8/7/2013                   $50,000.00
             8/8/2013                  $250,000.00
             8/9/2013                   $50,000.00
             8/9/2013                   $52,000.00
            8/12/2013                   $50,000.00
            8/12/2013                   $96,500.00
            8/12/2013                   $28,000.00
            8/12/2013                   $80,000.00
            8/12/2013                   $50,000.00
            8/13/2013                                            $375,000.00
            8/13/2013                   $25,000.00
            8/14/2013                   $60,000.00
            8/15/2013                                            $100,000.00
            8/15/2013                   $50,000.00
            8/15/2013                   $25,000.00
            8/15/2013                   $30,000.00
            8/16/2013                  $100,000.00
            8/16/2013                  $106,710.44
            8/16/2013                                             $50,000.00
            8/22/2013                  $110,000.00
            8/23/2013                   $40,000.00
            8/26/2013                   $25,000.00
            8/26/2013                  $100,000.00
            8/26/2013                  $110,000.00
            8/26/2013                  $500,000.00
            8/26/2013                   $70,000.00
           10/11/2013                                             $722,000.00
           10/15/2013                                              $50,000.00
           10/21/2013                                             $100,000.00
           10/23/2013                                             $100,000.00
           10/29/2013                                           $5,000,000.00
            11/5/2013                                             $250,000.00
           11/13/2013                                             $230,000.00
           11/15/2013                                             $300,000.00
           10/28/2015                                             $500,000.00
           11/24/2015                                             $275,000.00
           12/11/2015                                           $1,000,000.00
           12/14/2015                                           $1,000,000.00
           12/18/2015                                             $102,240.00
            1/14/2016                                           $1,100,000.00
            1/22/2016                                              $56,320.37
             2/1/2016                                             $180,000.00
            5/13/2016                                           $1,200,000.00
            5/27/2016                                             $600,000.00
            6/27/2016                                           $1,200,000.00
            8/29/2013                  $140,000.00
            9/12/2013                   $50,000.00
            9/12/2013                   $60,000.00
            9/12/2013                   $40,000.00
            9/13/2013                   $28,000.00
            9/18/2013                   $60,000.00
            9/20/2013                   $25,000.00
            9/20/2013                   $25,000.00
            9/20/2013                  $200,000.00
            9/20/2013                   $25,000.00
            9/23/2013                   $65,000.00
            9/24/2013                   $30,000.00
            9/25/2013                   $50,000.00
            10/7/2013                   $50,000.00
            10/8/2013                   $25,000.00
           10/15/2013                   $35,000.00
           10/18/2013                  $105,000.00
           10/18/2013                   $65,000.00
           10/22/2013                   $50,000.00
           10/31/2013                  $100,000.00
            11/6/2013                   $75,000.00


                        Money Into IOLTA From        Money Disbursed To
                              Investors                   Mozido
Totals                       $19,388,770.24            $22,612,576.61




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